      Case 1-17-40104-cec                             Doc 84   Filed 11/17/17   Entered 11/17/17 11:47:45




                 Digitally signed by Akiva Ofshtein

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